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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

  A.O.A., et al.,                         )
                                          )
                          Plaintiffs,     )
                                          )
                    vs.                   )   Case No. 4:11-cv-00044-CDP
                                          )   (CONSOLIDATED)
  THE DOE RUN RESOURCES                   )
  CORPORATION, et al.,                    )
                                          )
                          Defendants.     )


       MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION TO
    EXCLUDE, IN PART, THE EXPERT OPINIONS OF DR. SHAHROKH ROUHANI
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  Exhibit 2       Deposition of Shahrokh Rouhani (Apr. 14, 2021)

  Exhibit 3       Expert Report of David A. Sullivan (Feb. 17, 2019)

  Exhibit 4       Expert Rebuttal Report of David A. Sullivan (Jun. 22, 2020)

  Exhibit 5       Expert Report of David A. Sullivan (Dec. 1, 2020)

  Exhibit 6       Expert Rebuttal Report of David A. Sullivan (May 28, 2021)

  Exhibit 7       J.C. Chang, et al., Air Quality Model Performance Evaluation, 87
                  Meteorology and Atmospheric Physics 167 (2004)




                                            v
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            Dr. Shahrokh Rouhani is an environmental scientist, engineer, and consultant in

 environmental statics and geostatistics. He was retained by Defendants to offer opinions at trial

 related to the La Oroya Complex. Plaintiffs move to exclude certain rebuttal opinions he offers

 that critique the work of Plaintiffs’ air modeling expert, David Sullivan. Specifically, Plaintiffs

 object to paragraphs 22 through 28 of Rouhani’s March 19, 2021 supplemental report, where he

 compares the daily and hourly concentrations estimated by Sullivan’s model with measured

 values from the air monitoring sites at those same dates and times. 1

            The Court should exclude those opinions because they are not based on reliable

 principles and methods and are not helpful to the jury. Rouhani evaluated Sullivan’s air model by

 analyzing whether it accurately predicts airborne concentrations to the hour or to the day at a

 specific location. While Rouhani refers to these as “concurrent comparisons,” they are actually

 the result of a technique known as “pairing in time and space,” which is not an accepted method

 for evaluating an air quality model. Air models are not intended to be accurate to the hour or

 even the day; rather, they are assessed by how accurately they predict distributions of

 concentrations and long-term averages. In other words, by conducting his “concurrent

 comparisons,” Rouhani is grading Sullivan’s model against an impossible standard.

            Rouhani uses a flawed methodology because he lacks significant experience evaluating

 air models and developed his opinions solely for the purpose of testifying in this case. His

 regressions and conclusions will not assist the jury in understanding the evidence or determining

 a fact in issue, especially since the allegations here concern Plaintiffs’ long-term exposure to lead

 and other toxins. Without a reliable scientific foundation, Rouhani’s “concurrent comparisons”

 do not satisfy the standard for admitting expert testimony set forth in Federal Rule of Evidence


 1
     See Exh. 1, Rouhani Supp. Rep. (Mar. 19, 2021) ¶¶ 22-28.

                                                          1
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 702 and Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). They also fail the Rule 403

 balancing test, as whatever probative value they might have is substantially outweighed by the

 danger of confusing and misleading the jury. This Court should accordingly enter an order

 precluding Rouhani from offering those opinions at trial.

 I.     Legal Standard

        “A witness who is qualified as an expert by knowledge, skill, experience, training, or

 education may testify in the form of an opinion or otherwise if: (a) the expert’s scientific,

 technical, or other specialized knowledge will help the trier of fact to understand the evidence or

 to determine a fact in issue; (b) the testimony is based on sufficient facts or data; (c) the

 testimony is the product of reliable principles and methods; and (d) the expert has reliably

 applied the principles and methods to the facts of the case.” Fed. R. Evid. 702.

        To testify as an expert, a witness must possess “scientific, technical, or other specialized

 knowledge [that] will help the trier of fact to understand the evidence or to determine a fact in

 issue[.]” Fed. R. Evid. 702(a). Daubert requires the trial court to assess “whether [a] theory or

 technique has been subjected to peer review and publication.” Johnson v. Mead Johnson & Co.,

 LLC, 754 F.3d 557, 562 (8th Cir. 2014) (citing Daubert, 509 U.S. at 593-94); see also Sorensen

 By & Through Dunbar v. Shaklee Corp., 31 F.3d 638, 649 (8th Cir. 1994) (observing that while

 peer review is not dispositive, “we do not believe peer review to be an empty gesture”). General

 acceptance also has a bearing on the inquiry. Daubert, 509 U.S. at 594.

        When evaluating a particular scientific technique, courts should “consider the known or

 potential rate of error.” Daubert, 509 U.S. at 594; see also Ho v. Michelin N. Am., Inc., 520 F.

 App’x 658, 666 (10th Cir. 2013) (in rejecting expert evidence, district court properly considered

 the lack of a measured error rate, the fact that the opinion was not supported by peer-reviewed

 evidence or extensive testing, and the contrary generally accepted literature). Another factor
                                                    2
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 courts consider is “whether the experts are proposing to testify about matters growing naturally

 and directly out of research they have conducted independent of the litigation, or whether they

 have developed their opinions expressly for purposes of testifying.” In re Bair Hugger Forced

 Air Warming Devices Prod. Liab. Litig., 9 F.4th 768, 777 (8th Cir. 2021) (quoting Daubert v.

 Merrell Dow Pharms., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995)); accord Presley v. Lakewood

 Eng’g & Mfg. Co., 553 F.3d 638, 643 (8th Cir. 2009); see also Fed. R. Evid. 702 advisory

 committee’s note to 2000 amendment (noting this factor “remain[s] relevant to the determination

 of the reliability of expert testimony under the Rule as amended”).

            The burden is on the proponent of the expert testimony to prove that the expert is

 qualified, that his methodology is scientifically valid, and that “the reasoning or methodology in

 question is applied properly to the facts in issue.” Khoday v. Symantec Corp., 93 F. Supp. 3d

 1067, 1076 (D. Minn. 2015), as amended (Apr. 15, 2015) (quoting Marmo v. Tyson Fresh Meats,

 Inc., 457 F.3d 748, 757-58 (8th Cir. 2006). In assessing a proffer of scientific testimony under

 Rule 702, the trial court should also be mindful of other applicable rules, including Federal Rule

 of Evidence 403. Daubert, 509 U.S. at 595; Werth v. Hill-Rom, Inc., 856 F. Supp. 2d 1051, 1067

 (D. Minn. 2012). Even relevant expert testimony may be excluded under Rule 403 “if its

 probative value is substantially outweighed by a danger of one or more of the following: unfair

 prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

 presenting cumulative evidence.” Fed. R. Evid. 403; Daubert, 509 U.S. at 595.

 II.        Factual Background

            Plaintiffs’ expert, David Sullivan, is a meteorologist with 46 years of professional

 experience in air quality and meteorology. 2 He is an expert in air quality dispersion modeling


 2
     Exh. 3, Sullivan Rep. (Feb. 17, 2019) at 11.

                                                     3
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 (computer generation of expected airborne concentrations and surface deposition), air quality and

 meteorological monitoring, exposure assessment, and media transfers of airborne pollutants to

 surface soils and other surfaces. 3 Sullivan was retained to evaluate “air quality and deposition

 impacts in and around La Oroya, Peru based on available emissions data from the Defendants’

 La Oroya smelter and refinery operations.” 4

             As part of his work in this case, Sullivan created a CALPUFF 5 air quality model

 (sometimes called a dispersion or Gaussian puff model) to estimate airborne concentrations and

 community dust concentrations of lead, arsenic, and sulfur dioxide at the residences and schools

 attended by Plaintiffs. 6 CALPUFF models are not designed to estimate concentrations at specific

 hours and times. 7 Rather, Sullivan’s model is intended to estimate concentrations over time. 8 As

 his report makes clear, Sullivan built his model using monthly emissions data for pollutants

 associated with certain emissions sources at the La Oroya Complex. 9 Sullivan’s modeling is

 important because no Plaintiffs lived or attended school at a monitored site. Sullivan’s air model

 thus presents evidence of air pollutants including lead, arsenic, and sulfur dioxide in the broader

 La Oroya vicinity to better estimate Plaintiffs’ actual exposures during their childhoods. 10


 3
     Id. at 11-12.
 4
     Id. at 11.
 5
   CALPUFF is a modeling application approved by the EPA for use in estimating “single source pollutant
 concentrations resulting from the long range transport of primary pollutants.” 40 C.F.R. Pt. 51 App. Y § III.A.3.
 CALPUFF “is widely used in the U.S. for air quality analysis for sites located in areas with complex wind flow and
 for long-range dispersion.” Exh. 3 at 9. While the parties dispute the various experts’ application of CALPUFF
 models in this case, all parties use CALPUFF models, and none disputes CALPUFF’s validity in a general sense.
 6
     See Exh. 3 at 65.
 7
  See id. at 38 (“Models, including the CALPUFF model, were not developed with the intent that results would be
 accurate when constrained in time and space, such as estimating the concentration at a specific hour and a specific
 home.”).
 8
     Id. at 68.
 9
     See, e.g., id. at 40-51 (Tables 2-13, showing monthly figures).
 10
      Id. at 23; Exh. 6, Sullivan Rebuttal Rep. (May 28, 2021) at 25.

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              The U.S. Environmental Protection Agency (EPA) establishes different standards for

  evaluating air quality assessments depending on the toxin at issue. 11 Following EPA guidance,

  Sullivan evaluated his model’s arsenic predictions based on an annual average, lead predictions

  based on a maximum three-month rolling average, and sulfur dioxide predictions based on the

  99th percentile of the daily one-hour maximum (i.e., evaluating how accurately the model

  predicts the observed maximum daily sulfur dioxide concentrations on days where that

  maximum is in the 99th percentile of all daily maxima over the period studied). 12 Using those

  metrics, Sullivan was able to demonstrate his model’s successful performance for each toxin at

  issue. 13 Sullivan also ran his CALPUFF model three times, using estimates from three different

  emissions inventories, to demonstrate that his modeling approach and conclusions are reliable

  and generally consistent regardless of which emissions inventory is selected. 14

              Rouhani, by contrast, is not an air modeling expert. 15 He has never performed a peer

  review of any air modeling article. 16 He has never taught any classes in air modeling. 17 He does

  not hold himself out to clients as someone who can provide air modeling services. 18 He is not

  trained to use or understand CALPUFF. 19 He does not hold himself out as having an expertise in




  11
       Exh. 3 at 23 n.2; see also id. at 36; 94 n.14.
  12
    Exh. 4, Sullivan Rebuttal Rep. (June 22, 2020) at 50. For example, in a 365-day year, the day with sulfur dioxide
  concentrations in the 99th percentile would be the day with the fourth-highest reading.
  13
       Exh. 3 at 67-68.
  14
       Exh. 5, Sullivan Rep. (Dec. 1, 2020) at 8-9, 26.
  15
    Exh. 2, Rouhani Dep. (Apr. 14, 2021) at 9:11-14 (agreeing that “air modeling is not [his] field of expertise”); id. at
  12:16-18 (same).
  16
       Id. at 9:15-18.
  17
       Id. at 9:19-22.
  18
       Id. at 9:23-10:5.
  19
       Id. at 11:8-12.

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  air modeling. 20 He has no expertise in collecting the data used in air quality models 21 or in

  evaluating whether air monitors are accurately reporting the air concentrations in their sited

  locations. 22 He did not even know that his flawed methodology is referred to as “pairing in time

  and space.” 23 The extent of his air modeling experience is some work in graduate school and an

  air modeling investigation for the EPA over two decades ago. 24

              Rouhani tries to rebut Sullivan’s findings by attempting to undermine his model. To do

  that, he compares model outputs on a daily or hourly basis against the measured daily or hourly

  toxin concentrations at the various monitoring stations– a method known as “pairing in time and

  space.” His Figure 2, for instance, plots predicted versus measured lead concentrations so that

  each point on the chart “represents a modeled and measured value during the same day.” 25 He

  provides 30 pages of appendices showing similar comparisons. 26 When the values inevitably

  diverge, Rouhani concludes in Opinion 2 that Sullivan’s air model yields unreliable predictions.

  Rouhani’s Opinion 3 uses the same methodology, this time to compare the daily and hourly

  modeled values from Sullivan’s three model runs (using the three emissions inventories

  mentioned above) against one another. Not surprisingly, that exercise also yields “substantial

  differences,” 27 leading Rouhani to conclude that the results are not consistent.




  20
       Id. at 12:16-18.
  21
       Id. at 12:25-13:5.
  22
       Id. at 13:20-14:1.
  23
       Id. at 69:15-21.
  24
       Id. at 10:6-25.
  25
       Exh. 1, Rouhani Supp. Rep. at ¶ 23 (emphasis added).
  26
       Id. at Attach. C and D.
  27
       See id. at ¶¶ 26-28; Attach. C and D.

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  III.        Argument

              Rouhani’s use of “concurrent comparisons” to critique Sullivan’s air model should be

  excluded under Rule 702. Because he lacks sufficient specialized knowledge about the field of

  air modeling, Rouhani adopts an unreliable method for evaluating Sullivan’s air model that is not

  generally accepted in the air modeling community, has not been peer reviewed, has a high rate of

  error, and was developed solely for the purposes of litigation.

              The Court should also exclude Rouhani’s opinions under Rule 403. Rouhani criticizes

  Sullivan’s model for failing to do something – accurately predicting concentrations at particular

  monitoring sites on particular days – that it was not designed to do. Evaluating whether

  Sullivan’s model accurately predicts daily or hourly measured values is unhelpful to the jury.

  This case involves allegations that Plaintiffs were injured by long-term exposures. Rouhani’s

  opinions, therefore, have scant probative value, while admitting them would create a substantial

  risk of confusing and misleading the jury.

         A.      Rouhani’s “concurrent comparisons” should be excluded under Rule 702,
                 because they are not the product of reliable principles and methods.

              The opinions expressed in paragraphs 22 through 28 of Rouhani’s supplemental report

  should not be admitted under Rule 702 because they are the product of an unreliable

  methodology. Rouhani purports to evaluate Sullivan’s model by comparing modeled emissions

  against actual measurements at specific times and locations over a period of years. But “pairing

  in time and space,” as his method is known, is not a reliable way to evaluate an air model. 28

  Rouhani’s method is not generally accepted within the air modeling community, is not supported

  by peer reviewed-evidence or publications, and has not been subjected to testing.




  28
       See Exh. 6, Sullivan Rebuttal Rep. (May 28, 2021) at 54-57.

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              It is impossible to create a model that accurately and consistently predicts air

  concentrations at every specific time and place. See United States v. Ameren Missouri, 421 F.

  Supp. 3d 729, 789 (E.D. Mo. 2019), aff’d in part, 9 F.4th 989 (8th Cir. 2021) (“[M]odeling

  outputs will not perfectly match monitoring data.”). Indeed, “because of variations in wind

  direction, it is almost fruitless to attempt to compare predictions and observations paired in space

  and time.” 29 Even a small difference in wind direction (i.e., 5 to 10 degrees) between measured

  and modeled values can result in predicted air concentrations being 20%-70% off point-in-time

  measured concentrations. 30 EPA has explained that “[s]uch uncertainties do not indicate that an

  estimated concentration does not occur, only that the precise time and locations are in doubt.” 31

  For this reason, EPA discourages “placing too much weight on modeled versus predicted

  concentrations paired in time and space” when evaluating model performance. 32

              At his deposition, Rouhani acknowledged that it is normal for wind direction to vary

  from hour to hour and even from minute to minute at a given location, and that those variations

  even out when evaluated on a longer-term basis (i.e., monthly or annually). 33 He should have

  known that no air model would be able to account for the variations in wind speed and direction

  accurately enough to produce predicted concentrations that matched the actual measurements at a




  29
    Exh. 7, J.C. Chang, et al., Air Quality Model Performance Evaluation, 87 Meteor. and Atmos. Physics 167, 185
  (2004) (citing J.C. Weil, et al., Evaluating Air Quality Models: Review and Outlook, 31 J. Appl. Meteor. 1121-1145
  (1992)). Rouhani misinterprets this peer-reviewed literature to mean that, “[f]rom their point of view ... it’s a very
  negative thing that basically says that, you know, expecting a reliable air model appears to be, to these authors, a
  fruitless goal.” Exh. 2 at 143:5-8. This extreme opinion – that no air model is reliable – perhaps explains Rouhani’s
  decision to use an evaluation method that causes every air model to fail.
  30
    See Revisions to the Guideline on Air Quality Models: Enhancements to the AERMOD Dispersion Modeling
  System and Incorporation of Approaches to Address Ozone and Fine Particulate Matter, 82 Fed. Reg. 5182, 5209
  (Jan. 17, 2017).
  31
       Id.
  32
       Id. at 5186.
  33
       Exh. 2 at 62:10-63:13.

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  specific place and time. Rouhani also should have known that the refining operations at the La

  Oroya Complex varied from hour to hour, 34 further increasing the unpredictability of the

  measured data on such a granular time scale.

             Part of the problem is that Rouhani premised his opinions on two false assumptions. First,

  he never looked at the emissions rates Sullivan put into his model 35 and mistakenly assumed they

  were daily inputs that could generate reliable daily outputs. That was not true. Sullivan ran his

  model using monthly average emissions rates from the various emission sources at the La Oroya

  Complex, because those were the data made available by Doe Run Peru. 36 Second, Rouhani

  further assumed that Sullivan’s model was designed to “predict daily air lead and arsenic

  concentrations and hourly SO2 concentrations at specific locations.” 37 But that was also untrue.

  While the CALPUFF software generated those figures, Sullivan’s model was not intended to

  reliably predict daily or hourly concentrations; rather, it was designed to produce reliable results

  on a quarterly, annual, and (in the case of sulfur dioxide) distributional basis. 38

             In other words, Rouhani wrongly assumed that Sullivan used more precise emissions data

  to predict concentrations at specific times and locations, when in fact Sullivan used monthly

  averages to estimate long-term concentrations. Because Rouhani’s “concurrent comparisons” are

  based on these false assumptions, they are unreliable, unhelpful, and therefore inadmissible. See

  In re Wholesale Grocery Prod. Antitrust Litig., 946 F.3d 995, 1001-02 (8th Cir. 2019) (affirming




  34
    See, e.g., Exh. 3 at Tables 9-10 (showing various emissions sources operating for different numbers of hours than
  each other and compared from month-to-month).
  35
     Exh. 2 at 67:24-68:3 (“Q. Are you aware that Mr. Sullivan actually used emissions rates that were average over
  one month intervals for his modeling purposes, not daily or hourly? A. I did not look at his emission rates.”).
  36
       Exh. 6 at 63.
  37
       Exh. 1 at ¶ 22; see also Exh. 2 at 67:15-23.
  38
       Exh. 6 at 63; Exh. 3 at 85.

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  exclusion of expert testimony that was based on a flawed assumption); see also Glastetter v.

  Novartis Pharms. Corp., 107 F. Supp. 2d 1015, 1018 (E.D. Mo. 2000), aff’d, 252 F.3d 986 (8th

  Cir. 2001) (“If the evidence is not applicable to the facts of the case or not sufficiently tied to the

  facts of the case, then it may not be helpful to the trier of fact.”); Weisen v. N. Tier Retail LLC,

  No. 19-CV-2624, 2021 WL 2661507, at *4 (D. Minn. June 29, 2021) (“[A]ny step the expert has

  taken that renders the analysis unreliable renders the expert’s testimony inadmissible[.]”).

              The other part of the problem is that Rouhani does not have a sufficient understanding of

  how air modeling works. He could not cite any scientific literature that supports his pairing in

  time and space methodology. 39 He admitted at his deposition that the air model evaluations he

  has seen published in reviewed journals “never presented their results as being reliable on an

  hourly value.” 40 Rather, “the final conclusions were always driven by some sort of a long-term

  average.” 41 Nonetheless, he chose to grade Sullivan’s model against an impossible, untested

  standard. Not surprisingly, he has never found an air model that could accurately or reliably

  predict hourly or daily air quality at a particular location. 42

              Rouhani’s inexperience with air modeling weighs against the admission of his opinions.

  See Wheeling Pittsburgh Steel Corp. v. Beelman River Terminals, Inc., 254 F.3d 706, 715 (8th

  Cir. 2001) (citing Kumho Tire Co. v. Carmichael, 526 U.S. 137, 156 (1999)) (“[I]t is the

  responsibility of the trial judge to determine whether a particular expert has sufficient specialized

  knowledge to assist jurors in deciding the specific issues in the case.”); see also Woods v. Wills,



  39
       See Exh. 2 at 88:21-89:24.
  40
       Id. at 82:24-83:7.
  41
       Id. at 83:8-22.
  42
    See id. at 82:17-23 (“Q. Do you recall anytime in your career ever concluding that an air quality model could
  accurately or reliably predict hourly or daily air quality at a particular location? A. I -- I don’t recall any case that --
  as I told you this day, I have reviewed only a handful of models.”).

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  No. 03-CV-105 CAS, 2005 WL 5990326, at *8 (E.D. Mo. Oct. 27, 2005) (excluding testimony

  where proposed expert “lack[ed] the necessary education, professional training or experience to

  testify about what is generally accepted in [the relevant scientific field] and which tests and

  methodologies are accurate and reliable”).

           Statistics and regressions are powerful tools when used correctly, but unless one

  understands the purpose for which the regressions are being performed, the results are

  meaningless. Because Rouhani attempts to test the reliability of Sullivan’s modeling results

  against an impossible and irrelevant standard, any opinions he could offer based on that

  methodology would be unhelpful to the jury and should accordingly be excluded from the trial

  under Rule 702. See Wagner v. Hesston Corp., 450 F.3d 756, 760 (8th Cir. 2006) (a district court

  properly considers “[a] lack of testing[,] ... lack of peer review, lack of general acceptance, and

  evidence that the theories were developed in the context of litigation” in granting a Daubert

  motion); cf. Howard v. Bosch Thermotechnology Corp., No. 17-CV-763 CDP, 2018 WL

  2087259, at *4 (E.D. Mo. May 4, 2018) (expert’s lack of familiarity with Bosch water heaters

  meant his opinion on how one may have failed would “not be helpful to a jury”); Metro. St.

  Louis Equal Hous. Opportunity Council v. Gordon A. Gundaker Real Est. Co., 130 F. Supp. 2d

  1074, 1088 (E.D. Mo. 2001) (“Although Dr. Peterman could be considered qualified as an expert

  in statistical analysis of geographic data, the Court finds that he lacks sufficient knowledge

  through training, education, or experience to be considered qualified to offer an expert opinion

  regarding matched pair data analysis and/or whether the EHOC tests provide evidence of racial

  steering.”).

      B.         Rouhani’s opinions should be excluded under Rule 403.

           The Court should also prohibit Rouhani from presenting his “concurrent comparison”

  critique of Sullivan’s model at trial because it fails the Rule 403 balancing test. See United States
                                                   11
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  v. Solorio–Tafolla, 324 F.3d 964, 966 (8th Cir. 2003) (“Even so, under Daubert and Rule 403 of

  the Federal Rules of Evidence, the probative value of the expert testimony must not be

  substantially outweighed by the danger of unfair prejudice, confusion of issues, or misleading the

  jury.”). To someone who does not regularly work in the air modeling industry, Rouhani’s

  approach might seem sensible. Coming from an expert statistician like Rouhani, it could well be

  assigned “talismanic significance” in the eyes of the jury. United States v. Frazier, 387 F.3d

  1244, 1263 (11th Cir. 2004).

             But air models, including the CALPUFF model, are not designed to be accurate when

  paired in time and space, such as estimating concentrations at a specific location during a

  specific time of day. 43 No air model would pass that test. Indeed, attempting to devise a model

  that could accurately predict precise concentrations at unique moments in time would have been

  pointless and futile. Given that the Complex’s operations could vary greatly from one hour to the

  next, no model could be expected to predict when those changes would occur and what effect

  they would have on air concentrations within such narrow time scales. The reliable method for

  assessing an air model is to test how accurately it does what it is designed to do, which is to

  predict trends over time. 44

             Whether or not Sullivan’s model reliably predicts airborne concentrations at a particular

  place during a particular hour or on a particular day is minimally relevant. Nothing helpful to the

  jury can be gleaned from testimony that Sullivan’s air model produced values that are not

  accurate at such a granular level. The purpose of the air modeling Sullivan performed was to



  43
       Exh. 3 at 38.
  44
    See 82 Fed. Reg. 5182, 5209 (“Gaussian models... generally attempt to estimate concentrations at specific sites
  that represent an ensemble average of numerous repetitions of the same ‘event.’ Uncertainties in model estimates are
  driven by this formulation, and... evaluations of model accuracy should focus on the reducible uncertainty associated
  with physics and the formulation of the model.”).

                                                           12
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  estimate average concentration levels at various locations around La Oroya over time. 45 This

  approach comports not only with EPA guidelines for how to construct an air model but also with

  common sense. The allegations here concern injuries caused by chronic exposure to lead and

  other toxins. Sullivan’s model accordingly focuses on average levels over time.

             At the same time, Rouhani’s unhelpful, statistical “concurrent comparisons” would be

  confusing and misleading to the jury. Air modeling and statistical analysis are not topics familiar

  to the average juror, and the testimony about both will be highly technical. There is a substantial

  risk that the jury will see Rouhani’s charts with points plotted outside the dotted lines and

  wrongly conclude, with Rouhani’s expert imprimatur, that Sullivan’s model must be unreliable

  because it failed a meaningless test. The Court should exercise its authority under Rule 403 to

  ensure that the jury is not confused and misled in this way. See Chism v. CNH Am. LLC, 638

  F.3d 637, 642 (8th Cir. 2011) (affirming exclusion of expert evidence on the grounds that “it was

  minimally probative, cumulative, and would have unnecessarily confused the issue”).

  IV.        Conclusion

             Rouhani attempts to critique Sullivan’s air model without a sufficient understanding of

  Sullivan’s methods or the general standards associated with air modeling. As a result, he

  employs an unscientific, litigation-oriented methodology for evaluating Sullivan’s model that is

  not generally accepted by the air modeling community and that is functionally meaningless.

  Rouhani’s “concurrent comparisons” are therefore unreliable and unhelpful. At the same time,

  they could easily mislead and confuse the jury. The Court should accordingly exclude the

  opinions set forth in paragraphs 22 to 28 of Rouhani’s March 19, 2021 supplemental report.




  45
       Exh. 3 at 68.

                                                     13
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  Specifically, the Court should preclude Rouhani from offering any testimony or opinions

  concerning his “concurrent comparisons” methodology.

                                             Respectfully submitted,
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